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                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF VIRGINIA
                             Charlottesville Division

    ELIZABETH SINES, SETH WISPELWEY,
    MARISSA BLAIR, APRIL MUÑIZ,
    MARCUS MARTIN, NATALIE ROMERO,
    CHELSEA ALVARADO, JOHN DOE, and
    THOMAS BAKER,


                           Plaintiffs,

    v.

    JASON KESSLER, RICHARD SPENCER,
    CHRISTOPHER CANTWELL, JAMES
    ALEX FIELDS, JR., VANGUARD
    AMERICA, ANDREW ANGLIN,
    MOONBASE HOLDINGS, LLC, ROBERT
    “AZZMADOR” RAY, NATHAN DAMIGO,
    ELLIOTT KLINE a/k/a ELI MOSLEY,         Civil Action No. 3:17-cv-00072-NKM
    IDENTITY EVROPA, MATTHEW
    HEIMBACH, MATTHEW PARROTT a/k/a             JURY TRIAL DEMANDED
    DAVID MATTHEW PARROTT,
    TRADITIONALIST WORKER PARTY,
    MICHAEL HILL, MICHAEL TUBBS,
    LEAGUE OF THE SOUTH, JEFF SCHOEP,
    NATIONAL SOCIALIST MOVEMENT,
    NATIONALIST FRONT, AUGUSTUS SOL
    INVICTUS, FRATERNAL ORDER OF THE
    ALT-KNIGHTS, LOYAL WHITE KNIGHTS
    OF THE KU KLUX KLAN, and EAST
    COAST KNIGHTS OF THE KU KLUX
    KLAN a/k/a EAST COAST KNIGHTS OF
    THE TRUE INVISIBLE EMPIRE,

                           Defendants.


         PLAINTIFFS’ BRIEF IN OPPOSITION TO W. EDWARD REBROOK IV’S
             MOTION TO WITHDRAW AS ATTORNEY FOR NATIONAL
               SOCIALIST MOVEMENT AND NATIONALIST FRONT
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          Plaintiffs respectfully file this brief in opposition to W. Edward ReBrook IV’s Motion to

   Withdraw as Attorney for National Socialist Movement (“NSM”) and Nationalist Front (“NF”)

   (the “Motion” or “Mot.”), filed on March 28, 2020. ECF No. 691. For the reasons set forth below,

   Plaintiffs respectfully request that the Court deny ReBrook’s Motion.

                                   PRELIMINARY STATEMENT

          As alleged in the Second Amended Complaint, Defendants NSM and NF, together with

   NSM’s then-“Commander,” Defendant Jeff Schoep, attended Unite the Right in Charlottesville in

   August 2017 and were key planners of and participants in the racially-motivated violence that

   occurred there. See generally Second Am. Compl., Sept. 17, 2019, ECF No. 557. ReBrook has

   represented all three Defendants since March 19, 2019—over a year now.1 Praecipe/Notice of

   Appearance of Counsel, Mar. 19, 2019, ECF No. 451. The same month that ReBrook began

   representing all three clients—indeed, two weeks before ReBrook assumed his representation—

   Schoep stepped down from his position as Commander of NSM and appointed Burt Colucci as

   NSM’s new Commander. See Pls.’ Mot. to Compel Discovery from Def. Jeff Schoep 4, Mar. 27,

   2020, ECF No. 689 (“Mot. to Compel Schoep”). After Schoep departed NSM and for the

   subsequent year, ReBrook was a key participant in and a facilitator of NSM’s steadfast refusal to

   comply with Court orders and its misconduct in discovery. ReBrook repeatedly refused to conduct

   any investigation into custodians of relevant documents other than Schoep. He has even asserted



          1
            Plaintiffs have set forth the factual background relevant to ReBrook’s representation of
   NSM and NF at length in several prior filings, and incorporate the factual recitations in those briefs
   by reference. See Pls.’ Mot. to Compel Discovery from Def. Jeff Schoep, Mar. 27, 2020, ECF No.
   689 (“Mot. to Compel Schoep”); Pls.’ Mot. to Compel Discovery from Def. National Socialist
   Movement, Mar. 11, 2020, ECF No. 674 (“Mot. to Compel NSM”); Pls.’ Mot. to Compel Def.
   National Socialist Movement to Disclose Custodians of Discoverable Docs. and Information, Sept.
   3, 2019, ECF No. 547; Pls.’ Mot. for Rule 37 Sanctions Against Def. Jeff Schoep, Feb. 27, 2019,
   ECF No. 432.
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   and endorsed the frivolous, bad-faith argument made by NSM’s new Commander, Colucci, that

   NSM, as it exists today, is a separate entity from Defendant NSM that Plaintiffs sued, and therefore

   not subject to the Court’s discovery orders or Plaintiffs’ discovery requests. See Mot. to Compel

   Discovery from Def. National Socialist Movement 19, Mar. 11, 2020, ECF No. 674 (“Mot. to

   Compel NSM”).

          Last month, Plaintiffs moved to compel discovery from NSM due in large part to the

   obstruction of Court orders and the discovery process that ReBrook himself helped cause and in

   which ReBrook was a willing participant. See id. In that motion, Plaintiffs set forth the history of

   NSM’s refusal to comply with its discovery obligations (while led by both Schoep and Colucci),

   which ReBrook facilitated for months by refusing to investigate any custodians of responsive

   documents and by hewing to the absurd claim that he had only one “human client” whom he could

   ask to produce documents. See id. at 3–18. Plaintiffs explained why NSM is subject to Plaintiffs’

   discovery requests and why NSM’s specious assertion that the organization as reincorporated by

   Colucci in Florida is not subject to Plaintiffs’ discovery requests—an argument promoted by

   ReBrook—must be rejected, and requested that the Court compel NSM to produce to Plaintiffs

   numerous responsive documents that NSM had withheld. See id. at 19–25.

          The deadline to oppose that motion passed on March 25, 2020.             ReBrook filed no

   opposition brief, effectively conceding the strength of Plaintiffs’ arguments. Instead, several days

   later, ReBrook filed the instant Motion moving to withdraw as counsel for both NSM and NF. See

   Mot., Mar. 28, 2020, ECF No. 691.

          The Court should reject ReBrook’s Motion. The sole basis for ReBrook’s request to

   withdraw is a purported conflict between his representation of NSM and NF and his representation

   of Schoep given Schoep’s departure from NSM—which occurred more than a year ago, two weeks




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   before ReBrook began representing NSM—and Schoep’s claim, as early as August 2019, that he

   has renounced the white supremacist movement. As set forth below, however, there is no

   “concurrent conflict of interest” requiring ReBrook’s withdrawal under the Virginia Rules of

   Professional Conduct. Given that no conflict of interest exists, ReBrook should be precluded from

   withdrawing from the representation given his own role, for the past year, in obstructing the

   discovery process—a role that necessitated substantial motion practice, including multiple motions

   filed against both of ReBrook’s clients, NSM and Schoep. Furthermore, the facts of this case—

   including, among others, that Schoep and Colucci were communicating, and that Schoep was

   watching out for Colucci’s interests, as recently as October 2019, and that Schoep’s girlfriend

   (Acacia Dietz) is currently serving as NSM’s legal representative for this litigation as well as

   ReBrook’s legal assistant—further belie the notion that any conflict exists.

          Additionally, a corporation cannot represent itself pro se, and Colucci has made plain his

   disdain for Plaintiffs, this litigation, and the Court. If ReBrook is allowed to withdraw as counsel

   for NSM, this will in all likelihood mean the end of NSM’s participation in this lawsuit—and the

   loss of a trove of responsive documents—that would be deeply prejudicial to Plaintiffs.

                                         LEGAL STANDARDS

          Rule 1.16 of the Virginia Rules of Professional Conduct provides that, in general, “a lawyer

   shall not represent a client or, where representation has commenced, shall withdraw from the

   representation of a client if,” among other circumstances, “the representation will result in

   violation of the Rules of Professional Conduct or other law[.]” Va. Rules of Prof’l Conduct R.

   1.16(a).

          Rule 1.7 provides that “a lawyer shall not represent a client if the representation involves

   a concurrent conflict of interest. A concurrent conflict of interest exists if: (1) the representation

   of one client will be directly adverse to another client; or (2) there is a significant risk that the


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   representation of one or more clients will be materially limited by the lawyer’s responsibilities to

   another client, a former client or a third person or by a personal interest of the lawyer.” Id. R.

   1.7(a).

             An organization that is a party to a lawsuit “cannot appear pro se as an artificial entity in

   any federal court litigation[.]” Tweedy v. RCAM Title Loans, LLC, 611 F. Supp. 2d 603, 605 n.2

   (W.D. Va. 2009) (Moon, J.). Rather, an organization cannot “appear in the federal courts otherwise

   than through a licensed attorney.” Rowland v. Cal. Men’s Colony, 506 U.S. 194, 202 (1993).

                                               ARGUMENT

   I.        ReBrook’s Representation of Schoep, NSM, and NF Does Not Involve a “Concurrent
             Conflict of Interest”

             The Court should deny ReBrook’s Motion to Withdraw because there is no concurrent

   conflict of interest within the meaning of the Virginia Rules of Professional Conduct (the “Rules”)

   that would necessitate such a withdrawal. Under Rule 1.7 of the Rules, “a lawyer shall not

   represent a client if the representation involves a concurrent conflict of interest.” Va. Rules of

   Prof’l Conduct R. 1.7(a). Such a conflict exists if “the representation of one client will be directly

   adverse to another client,” or if “there is significant risk that the representation of one or more

   clients will be materially limited by the lawyer’s responsibilities to another client, a former client

   or a third person or by a personal interest of the lawyer.” Id.

             As a basis for the alleged conflict under Rule 1.7, ReBrook asserts:

                    Defendant Schoep currently works with several different
                    organizations to promote peace and speaking out against his former
                    organization and the ideology they profess. Since August of 2019,
                    Mr. Schoep continues to speak out against racism, antisemitism and
                    violence, thus creating a conflict of interest between clients. . . .
                    While the NSM/NF espouses antisemitism and racial separation,
                    Defendant Schoep has been speaking out against antisemitism,
                    racism and violence. Thus creating a conflict of interest [sic].




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   Mot. 1–2.2 In other words, ReBrook alleges that Schoep has a “conflict” with NSM and NF not in

   their litigation positions, but in their current ideals and beliefs.3

           ReBrook’s argument fails. The question under the Rules is not whether ReBrook’s clients

   have a present disagreement or even presently conflicting beliefs. The question is whether

   ReBrook’s representation of NSM and NF will be “directly adverse” to his representation of

   Schoep, Va. Rules of Prof’l Conduct R. 1.7(a)(1), or whether ReBrook’s representation of NSM

   and NF will be “materially limited” by ReBrook’s responsibilities to Schoep, id. at R. 1.7(a)(2).

   In this analysis, courts consider whether the alleged conflict of interest “will materially interfere

   with the lawyer’s independent professional judgment in considering alternatives or foreclose

   courses of action that reasonably should be pursued on behalf of the client.” Id. at cmt. 8; see also

   Shaffer v. Farm Fresh, Inc.,966 F.2d 142, 145 (4th Cir. 1992); Richmond Hilton Assocs. v. City of

   Richmond, 690 F.2d 1086, 1088–89 (4th Cir. 1982); Sanford v. Virginia, 687 F. Supp. 2d 591, 603

   (E.D. Va. 2009) (“The applicable rule requires disqualification when the independent professional

   judgment of the lawyer is likely to be affected.”).

           Here, whatever views Schoep may hold of NSM and NF today, Schoep’s defenses against

   Plaintiffs’ claims regarding his conduct in 2017 are materially identical to NSM and NF’s defenses


           2
             ReBrook also claims, with no further elaboration, that he “sought the advice of the
   Virginia State Bar Ethics Counsel and was advised that defense counsel should move to withdraw.”
   Mot. 1–2. ReBrook does not specify or document, whether through an affidavit, declaration,
   exhibit, or otherwise, what he allegedly told the Virginia State Bar or the details of the Virginia
   State Bar’s alleged response. The Court should not accept ReBrook’s unsupported assertion as a
   basis to allow him to withdraw as counsel.
           3
             While the issue is not directly relevant to ReBrook’s Motion, Plaintiffs dispute ReBrook’s
   assertion that Schoep “is willing to cooperate with counsel and this court,” Mot. 3, in light of
   Schoep’s recalcitrance in discovery, including his recent refusal to produce an electronic device
   containing responsive documents for four months and his agreement to turn over that device only
   after Plaintiffs filed their motion to compel discovery from Schoep. See Mot. to Compel Schoep;
   Br. in Opp. to Pls.’ Mot. to Compel Discovery from Def. Jeff Schoep, Apr. 1, 2020, ECF No. 694.



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 against Plaintiffs’ claims regarding their conduct in 2017.        Plaintiffs allege that all three

 Defendants formed a conspiracy to commit racially-motivated violence at the Unite the Right rally

 in 2017. As such, Schoep’s departure from NSM in March 2019 and his alleged disavowal of

 white supremacism in August 2019, two years later, are simply irrelevant. Indeed, all three

 Defendants were among the thirteen “Moving Defendants” who signed the same joint motion to

 dismiss making the same legal arguments in defense of their assertion that Plaintiffs had failed to

 state a claim under 42 U.S.C. §§ 1985 or 1986 or under Virginia state law. See Mem. in Supp. of

 Moving Defs.’ Mot. to Dismiss, Jan. 26, 2018, ECF No. 206. Thus, ReBrook’s representation of

 NSM and NF is not “directly adverse” to his representation of Schoep, and his representation of

 each client is not “materially limited” by his responsibilities to the others, Va. Rules of Prof’l

 Conduct R. 1.7(a), as all three Defendants share the same defenses against Plaintiffs’ claims.

        No conflict of interest exists where, as here, one lawyer jointly represents multiple parties

 with substantially similar—indeed, here, essentially identical—positions against the same adverse

 party. See, e.g., Wright v. Williamsburg Area Med. Assistance Corp. (WAMAC), No. 4:12-CV-

 152, 2013 WL 12184285, at *1–2 (E.D. Va. Apr. 9, 2013) (denying motion to disqualify attorney

 jointly representing multiple defendants that held “substantially similar positions in their

 respective cases to achieve the same ends – defending against the Plaintiffs’ claims”); see also

 Federico v. Lincoln Military Hous., LLC, No. 2:12CV80, 2014 WL 12613388, at *3 (E.D. Va.

 May 23, 2014) (finding no conflict of interest even where one defendant had discussed possible

 settlement with plaintiffs because defendant agreed with theory of case held by other defendants);

 cf. Va. Rules of Prof’l Conduct R, 1.7(a) cmt. 27 (“[C]ommon representation is permissible where

 the clients are generally aligned in interest even though there is some difference of interest among

 them.”). By contrast, Virginia courts have found conflicts of interest where, unlike here, there are




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 substantial discrepancies in the testimony and positions of various defendants represented by a

 single attorney. See Sanford, 687 F. Supp. 2d at 597–605 (finding unwaivable conflict of interest

 because of “substantial discrepancy” in parties’ testimony and “incompatibility in positions in

 relation to an opposing party” (citation and internal quotation marks omitted)); see also Wink, Inc.

 v. Wink Threading Studio, Inc., No. 2:10CV450, 2011 WL 3206915, at *5 (E.D. Va. July 26, 2011)

 (similar).

         ReBrook’s prior conduct in this litigation, continuing to represent all three Defendants even

 as circumstances allegedly changed, further confirms that no conflict of interest exists. On March

 6, 2019, Schoep stepped down as Commander of NSM and appointed Colucci as NSM’s new

 Commander. See Jeff Schoep, Setting the Record Straight – Press Release, NATIONAL SOCIALIST

 MOVEMENT           (Mar.        6,       2019),       https://www.nsm88.org/press/nsm-JS_press-

 release_march_6_2019.htm. Two weeks later, on March 18, 2019, in an ex parte email to the

 Court, ReBrook asserted himself as the new attorney for Schoep, NSM, and NF. See ReBrook

 Email to Court, Mar. 18, 2019, ECF No. 446.4 On August 12, 2019, Schoep publicly purported to

 sever his ties with the white-supremacist movement in an announcement on his website that he

 had “realized many of the principles I had once held so dearly and sacrificed so much for were

 wrong.” See Katie Mettler, The ‘race whisperer’: A black activist convinced a neo-Nazi he’d save

 him from legal ruin. Then the real plan began., WASH. POST (Oct. 30, 2019),

 https://www.washingtonpost.com/graphics/2019/local/neo-nazi-group-takeover. Yet even after

 this point, ReBrook continued representing Schoep, NSM, and NF simultaneously, and in



         4
          Given this timeline, ReBrook’s statement in the Motion that “[a]t the time counsel agreed
 to represent NSM and NF, it was not known that Mr. Schoep would not only leave the NSM, but
 would also be speaking out against his former group as well as the White Nationalist movement,”
 Mot. 1, is, at best, misleading.



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 particular, continued furthering NSM’s obstruction of Court orders and discovery obligations. In

 December 2019, ReBrook then appeared for and defended the deposition of Colucci, sitting as the

 corporate representative of NSM. Dep. of Burt Colucci, Dec. 10, 2019, ECF No. 674-5 (“Colucci

 Dep”). The relevant circumstances—Schoep’s departure from the movement, including NSM, and

 his alleged disavowal of white supremacism as practiced by NSM—were the same in December

 2019 as they are now. Yet ReBrook did not claim a “concurrent conflict of interest” existed at any

 point until now. That is because such a conflict does not exist. Indeed, the only material difference

 between then and now is that Plaintiffs have recently filed a motion to compel NSM to produce

 documents that ReBrook has been aiding NSM in withholding, with no defensible legal basis to

 do so.

          While the clear legal deficiency of ReBrook’s claim of a conflict of interest is enough to

 reject his Motion, the facts belie the notion that any sort of conflict exists between Schoep and

 NSM.      As Plaintiffs have already informed the Court, Schoep and Colucci were still

 communicating, and Schoep was looking out for Colucci’s interests, at least as recently as October

 2019. Specifically, in October 2019, Schoep warned Colucci by text message that an individual

 calling into Colucci’s podcast with death threats was an informant who was “baiting” him. See

 Mot. to Compel NSM 17 n.15; Pls.’ Mot. to Compel Schoep 6–7; Colucci Dep. 242–45.

 Meanwhile, Dietz, who was Schoep’s girlfriend at least as late as December 2019, remained

 “[i]nformally” an NSM member who was responsible for updating the NSM website. See Mot. to

 Compel NSM 9 (alteration in original); Colucci Dep. 195–97, 203–04. As recently as December

 2, 2019, Dietz updated the NSM website at Colucci’s request. See Mot. to Compel NSM 17 n.15;

 Colucci Dep. 195–99, 203–04. Then, on December 17, 2019, after Plaintiffs asked ReBrook to

 identify the NSM representative responsible for NSM’s unsigned interrogatory responses,




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 ReBrook informed Plaintiffs that Dietz was the “current Authorized Representative” of NSM for

 purposes of this litigation and provided Plaintiffs with a copy of NSM’s responses to Plaintiffs’

 Second Set of Interrogatories that Dietz had signed on NSM’s behalf. See Mot. to Compel NSM

 18; ReBrook Email to Bloch, Dec. 17 2019, ECF No. 674-37. Even more astoundingly, ReBrook

 revealed to Plaintiffs earlier this month that Dietz is not just Schoep’s girlfriend as well as an NSM

 member and NSM’s legal representative in this litigation, but is also the legal assistant for

 ReBrook’s law firm. See Dietz Email to Bloch & Phillips, Apr. 6, 2020, ECF No. 695-1.

         Given that any claim of a “conflict of interest” is both legally invalid and absolutely

 contradicted by the facts, ReBrook’s claim that a conflict of interest exists based on public

 comments Schoep has made is, at best, mere conjecture, which is insufficient to find a conflict of

 interest necessitating withdrawal. The Fourth Circuit has explained that there must be a “present

 conflict between the positions taken by the two groups of defendants in the defense of the lawsuit,”

 Richmond Hilton Assocs., 690 F.2d at 1089 (emphasis added), and “mere speculation that a chain

 of events whose occurrence theoretically could lead counsel to act counter to his client’s interests

 might in fact occur” is insufficient to require withdrawal, Shaffer, 966 F.2d at 145; see also Aetna

 Casualty & Surety Co. v. United States, 570 F.2d 1197, 1200–01 (4th Cir. 1978) (emphasis added);

 see Patterson v. Gemini Org., 238 F.3d 414, at *2 (4th Cir. 2000) (per curiam) (unpublished).5

         Separately, ReBrook argues that he “has privity of contract with only one of the defendants

 in this civil litigation and that is Defendant Jeff Schoep,” and that “it would be unethical for counsel



         5
           Even if ReBrook’s joint representation of Schoep, NSM, and NF involved a “concurrent
 conflict of interest”—and it does not—ReBrook nonetheless could represent all three clients by
 obtaining written consent and meeting certain other requirements under Rule 1.7(b) of the Virginia
 Rules of Professional Conduct. To the extent that the Court finds a conflict of interest to exist,
 Plaintiffs respectfully submit that the Court should require ReBrook to obtain the consent required
 under Rule 1.7(b), if at all practicable, and to proceed with the joint representation.



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 to leave his representation.” Mot. 3. ReBrook provides no detail or legal citation supporting this

 cryptic and unexplained argument. Regardless, the relevant question is simply whether ReBrook

 formed an attorney-client relationship with NSM and NF.          ReBrook evidently formed an

 attorney-client relationship with both NSM and NF: he held himself out to the Court as such and

 has represented both entities for the past year. ECF Nos. 446, 451. ReBrook cannot withdraw

 from representing NSM and NF simply by claiming that “Schoep is the only client that counsel

 has a privity of contract [sic] with” and suggesting that Schoep somehow takes priority over NSM

 and NF as a result. See Mot. 3.

        Given that no “concurrent conflict of interest” exists requiring ReBrook’s withdrawal, all

 indications are that ReBrook’s motion is merely pretextual. Facing Plaintiffs’ motion to compel

 discovery from NSM and unwilling to oppose Plaintiffs’ motion or to perform the work necessary

 to investigate NSM custodians and produce relevant documents (as he has been for months),

 ReBrook decided not to oppose Plaintiffs’ motion, but simply to move to withdraw as NSM’s

 counsel. The Court should not reward ReBrook’s conduct by allowing him to withdraw. Indeed,

 it was precisely ReBrook’s refusal to investigate potential custodians of responsive documents—

 followed by the legal argument that he made for NSM that NSM as incorporated in Florida by

 Colucci is a separate entity from NSM as led by Schoep and therefore not subject to Plaintiffs’

 discovery requests—that compelled Plaintiffs to file the motion to compel in the first place. In

 other words, ReBrook himself is a principal reason why Plaintiffs were forced to move to compel

 discovery from NSM. ReBrook, and NSM, should not benefit from this gamesmanship.




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 II.    Granting ReBrook’s Motion to Withdraw as Counsel Will Enable NSM to Disappear
        from the Litigation Entirely

        Especially given that no “concurrent conflict of interest” exists under the Virginia Rules of

 Professional Conduct, the Court should not allow ReBrook to withdraw as counsel because such

 withdrawal will effectively mean the end of NSM’s participation in this lawsuit.

        As the Court has recognized, an organization that is a party to a lawsuit “cannot appear pro

 se as an artificial entity in any federal court litigation[.]” Tweedy, 611 F. Supp. 2d at 605 n.2.

 Rather, an organization can “appear in the federal courts only through licensed counsel.” Rowland,

 506 U.S. at 202; see Office Parks of Lynchburg, LLC v. Wells Fargo Banks, N.A., No. 6:12-CV-

 00034, 2012 WL 4325567, at *3 (W.D. Va. Sept. 20, 2012) (Moon, J.) (“A business entity or

 corporation involved in litigation in Virginia must be represented by an attorney licensed to

 practice in Virginia.”); Order, Feb. 22, 2019, ECF No. 427. This Court has previously stricken

 filings submitted by a defendant organization that was not represented by counsel and instructed

 it to retain counsel. See Order, Jan. 3, 2018, ECF No. 166; Order, Mar. 15, 2018, ECF No. 275.

 Thus, if ReBrook withdraws as counsel for NSM and NF, they would not be entitled to represent

 themselves pro se and would be required to retain counsel.

        Compounding this problem is that, since Schoep stepped down as Commander and

 appointed Colucci in his stead, Colucci has taken the factually and legally false position—abetted

 by ReBrook—that NSM as incorporated by Colucci in Florida is a separate entity from the NSM

 that Plaintiffs sued. See Mot. to Compel NSM 7–9, 19–22. Thus, even if NSM were legally able

 to represent itself pro se, it would very likely be unwilling to do so in light of Colucci’s specious

 position. And Colucci has already made clear that he absolutely refuses to participate in this

 litigation and will similarly refuse to retain counsel. See, e.g., id. at 14 (quoting Colucci’s

 statement, “I am not named as a defendant in that lawsuit and do not have to answer to uncle Zog”).



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         Thus, the inevitable result of a decision allowing ReBrook to withdraw as counsel will be

 the disappearance and default of NSM, as has already occurred with all too many Defendants in

 this lawsuit. See Clerk’s Entry of Default, Mar. 14, 2018, ECF No. 268 (Andrew Anglin and

 Moonbase Holdings, LLC); Clerk’s Entry of Default, Mar. 14, 2018, ECF No. 269 (East Coast

 Knights of the Ku Klux Klan); Clerk’s Entry of Default, Mar. 14, 2018, ECF No. 270 (Fraternal

 Order of the Alt-Knights); Clerk’s Entry of Default, Mar. 14, 2018, ECF No. 271 (Augustus Sol

 Invictus); Clerk’s Entry of Default, Mar. 16, 2018, ECF No. 280 (Loyal White Knights of the Ku

 Klux Klan).

         At the same time, as Plaintiffs have previously informed the Court, the discovery process

 (particularly Colucci’s deposition) has revealed that NSM is sitting on numerous responsive

 documents, social-media accounts, and electronic devices that NSM, thanks in large part to

 ReBrook’s refusal to participate in discovery in good faith, has withheld. See Mot. to Compel

 NSM 13–17, 22–25. Moreover, these documents appear to implicate other Defendants, including

 Schoep himself, Jason Kessler, Matthew Heimbach, Michael Hill, and Michael Tubbs. See, e.g.,

 id. at 14–15.

         Accordingly, merely allowing NSM to disappear would leave Plaintiffs with a substantial

 and prejudicial evidentiary gap. Plaintiffs should not be forced to settle for a default judgment

 against NSM, the inevitable result of granting ReBrook’s Motion, without receiving adverse

 inferences or the NSM documents themselves to remedy the prejudice to Plaintiffs. Especially

 given that Plaintiffs’ allegations in this case center on a conspiracy to commit racially-motivated

 violence, a default judgment against an alleged key member of the conspiracy, intentionally

 withholding scores of documents relevant to and implicating other Defendants, would be

 particularly prejudicial to Plaintiffs’ ability to prove their claims.




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                                        CONCLUSION

        For the foregoing reasons, Plaintiffs respectfully request that the Court deny ReBrook’s

 Motion to Withdraw as Attorney for National Socialist Movement and Nationalist Front.



  Dated: April 13, 2020                          Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 13, 2020, I filed the foregoing with the Clerk of Court through
 the CM/ECF system, which will send a notice of electronic filing to:

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        I further hereby certify that on April 13, 2020, I also served the following non-ECF
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